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18
                         IN THE UNITED STATES DISTRICT COURT
19
                                FOR THE DISTRICT OF ARIZONA
20

21   Kari Lake and Mark Finchem,               No. 2:22-cv-00677-JJT
22                Plaintiffs,                  MARICOPA COUNTY DEFENDANTS’
23                                             RULE 11 AND 28 U.S.C. § 1927
     vs.                                       MOTION FOR SANCTIONS
24
     Kathleen Hobbs, et al.,
25                                             (Honorable John J. Tuchi)
                 Defendants.
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1           Defendants Bill Gates, Clint Hickman, Jack Sellers, Thomas Galvin, and Steve
2    Gallardo in their official capacities as members of the Maricopa County Board of
3    Supervisors (“the County”) respectfully move for sanctions against Plaintiffs’ counsel and
4    Plaintiffs under Rule 11 of the Federal Rules of Civil Procedure and 28 U.S.C. § 1927.
5    Plaintiffs’ First Amended Complaint (“FAC”) and Motion for Preliminary Injunction
6    (“MPI”) publicly assert and represent to the Court allegations against the County that are
7    unfounded, asserted without a reasonable inquiry, and asserted for an improper purpose.
8    Most blatant are Plaintiffs’ repeated assertions that Arizonans do not vote on paper ballots.
9    This is false. Arizona law requires paper ballots. Either Plaintiffs’ counsel failed to do the
10   bare minimum factual investigation required by Rule 11 - speaking to their own clients
11   who have each voted on paper ballots for nearly 20 years - or they knowingly alleged the
12   fact anyway and pursued these frivolous claims anyway. Under either scenario, Plaintiffs
13   and their counsel violated Rule 11.
14          Moreover, the entire foundation of Plaintiffs’ case – the alleged need for court
15   intervention to implement their preferred method of ballot tabulation because they fear
16   possible, invisible, undetectable invaders into Arizona counties’ ballot tabulation
17   equipment that will allegedly improperly manipulate the vote count – is based purely on
18   speculation, conjecture, and unwarranted suspicion. Because no actual facts or evidence
19   exist to support Plaintiffs’ assertion that tabulation equipment ever has or will incorrectly
20   count ballots in Arizona, to support their claims Plaintiffs’ FAC instead sets forth
21   demonstrably false allegations made without any basis or reasonable factual inquiry in
22   violation of Rule 11. Fed. R. Civ. P. 11(b). Likewise, Plaintiffs’ counsel violated both Rule
23   11 and 28 U.S.C. § 1927 by unreasonably multiplying the proceedings with their untimely
24   and unsupported MPI filed months after filing their initial Complaint and after the County
25   filed its MTD.
26          Plaintiffs’ and their counsels’ use of the Court to further a disinformation campaign
27   and false narrative concerning the integrity of the election process in Arizona by asserting
28   demonstrably false allegations is repugnant. This improper use of the courts is
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1    unacceptable, detrimental to the entire election process, subjects election officials and
2    workers to threatening and harassing conduct, and violates Rule 11. Accordingly, this court
3    should issue sanctions against Plaintiffs and their counsel to deter future filings of similarly
4    frivolous lawsuits.
5           I.     Notice to Plaintiffs
6           On May 20, 2022, by written correspondence, County counsel alerted Plaintiffs’
7    counsel of its intention to file a Motion to Dismiss and seek Rule 11 sanctions. (See Ex.
8    1, May 20, 2022 Correspondence.) On May 27, 2022, County Counsel, having received
9    no response, sent e-mail correspondence to Plaintiffs’ counsel requesting a meet and
10   confer. (See Ex. 2, May 27, 2022 Correspondence.) On May 31, 2022, counsel for the
11   Parties participated in a telephonic meet and confer. At that time, Plaintiffs’ counsel stated
12   it had not considered whether amending the FAC could remedy the issues raised in the
13   County’s May 20, 2022, correspondence. Accordingly, the Parties filed a stipulated request
14   for extension of Defendants’ responsive pleading deadline, so Plaintiffs could consider the
15   issues raised by County counsel nearly two weeks prior. (Doc. 24) On June 6, 2022, the
16   Parties participated in a second meet and confer in which Plaintiffs’ counsel stated that it
17   “disagreed” with the County’s position and would not amend or dismiss the FAC, except
18   they would no longer pursue Plaintiffs’ claims based on A.R.S. § 11-251. The following
19   day, on June 7, 2022, the County filed its MTD. (Doc. 27). One day later, on June 8, 2022,
20   Plaintiffs filed their MPI. (Doc. 33) On July 18, 2022, County counsel served the instant
21   motion on Plaintiffs’ counsel.
22   II.    Plaintiffs’ false allegations and misleading “evidence”.
23          Plaintiffs’ FAC is premised on three broad allegations that are demonstrably false,
24   which any reasonable factual investigation would have revealed. First: that Arizona voters
25   do not vote by hand on paper ballots. (FAC, ¶¶ 7, 58-60, 153). They do. Second: that
26   Arizona’s election equipment is not independently tested by experts. (FAC, ¶¶ 20, 57, 69).
27   It is. Third: that Arizona’s tabulation results are not subject to vote-verifying audits. (FAC,
28   ¶¶ 23, 72, 144-52.) They are. The County’s MTD addressed each of these provably false
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1    allegations in detail, using publicly available and widely circulated information. (County’s
2    MTD at 1-6)
3           In addition, the allegations in the FAC relating specifically to Maricopa County
4    elections are demonstrably false. For example, the allegation that “[t]he recent hand count
5    in Maricopa County, the second largest voting jurisdiction in the United States, offers
6    Defendant Hobbs a proof-of-concept and a superior alternative to relying on corruptible
7    electronic voting systems” is untrue. (FAC, ¶ 155.) As set forth in detail in the MTD, the
8    Cyber Ninjas counted only two contests (of more than 60 on each ballot), it took them more
9    than three months, it cost millions of dollars, they claim that they went bankrupt as a result,
10   and the hand count results were so problematic the Arizona Senate was forced to purchase
11   paper-counting machines in an attempt to reconcile the hand counts’ botched numbers.
12   (MTD at 13-14) Moreover, the baseless “findings” of the Cyber Ninja’s “reports,” including
13   those in paragraphs 70, 132, and 164 of the FAC, have been debunked. For instance,
14   Plaintiffs’ assertion that the Final Voted file (VM55) contained significant discrepancies is
15   blatantly false, (see FAC, ¶ 70); among other things, the Cyber Ninjas did not understand
16   that there are protected voters who are prohibited by state law from being included in any
17   public voter file. (County’s MTD, Ex. 13 at 65) Plaintiffs repeatedly assert that election
18   files were “missing,” “cleared,” or “deleted.” (FAC, ¶¶ 70, 132, 164) However, all the hard
19   drives and corresponding data files from the November 2020 General Election were
20   maintained and safely secured by Maricopa County; the files the Cyber Ninjas claimed were
21   missing were either not subpoenaed and so not provided, or were not located because of the
22   Cyber Ninjas’ ineptitude. (County’s MTD, Ex. 13 at 5)
23          In spite of being clearly alerted to these factual misrepresentations both in the
24   County’s May 20, 2022, correspondence and the County’s subsequently-filed MTD,
25   Plaintiffs doubled-down by filing their untimely MPI. In it, in addition to relying on the
26   false allegations previously asserted in the FAC, they asserted, among other things, that
27   “[e]xperience has now shown the move to computerized voting in Arizona was a mistake.”
28   (MPI at 2); and that, “[a] return to the tried-and-true paper ballots of the past – and of the
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1    present, in countries like France, Taiwan, and Israel – is necessary.” (MPI at 2) But Arizona
2    does not use computerized voting, and never has. Arizona law requires paper ballots.1 See
3    Ariz. Rev. Stat. (“A.R.S.”) §§ 16-462 (primary election ballots “shall be printed”), 16-
4    468(2) (“Ballots shall be printed in plain clear type in black ink, and for a general election,
5    on clear white materials”), 16-502 (general election ballots “shall be printed with black ink
6    on white paper”). A fact that would have been easily learned by doing the most de minimis
7    factual investigation required by Rule 11(b), namely talking to their own clients who have
8    each voted on paper ballots for nearly 20 years.
9           In addition to the repeated factual misrepresentations, both the FAC and MPI were
10   riddled with testimony and allegations that are entirely unrelated to elections in Arizona and
11   seem designed to muddy the waters in an attempt to mislead the Court. For instance, FAC
12   ¶¶ 73-89, 125-131, 133 and 134 contain allegations concerning elections in Alabama, North
13   Carolina, Nebraska, Texas, Georgia, Wisconsin, Michigan, and Colorado conducted with
14   equipment that is not used in Arizona and so have nothing to do with Arizona and its
15   certified tabulation equipment. Plaintiffs’ blanket allegations concerning alleged foreign
16   manufacturing of components by hostile nations is similarly inapposite; the allegations do
17   not identify specific machines or parts. (FAC, ¶¶ 90-92) Likewise, Plaintiffs’ discussion of
18   their beliefs regarding “open source” technology has nothing to do with the claims asserted
19   or relief requested. (Id., ¶¶ 108-24)
20          Likewise, Plaintiffs heavily rely on a Georgia case addressing voting systems that
21   do not use paper ballots or lack appropriate paper back up, unlike the systems used in
22   Arizona. (Response to MPI, 3-4) Plaintiffs also repeatedly use out-of-context quotes from
23   testimony in unrelated cases and proceedings to sow doubt about the integrity of elections
24   in Arizona. (Id. at 4-5) Further, Plaintiffs rely on a statement from the U.S. Cybersecurity
25
     1
26    The only exception is voters who are visually impaired may vote on accessible voting
     devices. § 16-442.01. But accessible voting devices must produce a paper ballot or voter
27   verifiable paper audit trail, which the voter can review to confirm that the machine correctly
     marked the voter’s choices and which can be used to audit the election. § 16-446(B)(7);
28   (Elections Procedures Manual (2019) at 80.
                                                     4
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1    and Infrastructure Agency (“CISA”) to assert that vulnerabilities exist concerning Maricopa
2    County’s voting system, even though the system addressed in the report is different than
3    the system used by Maricopa County (or any other county in Arizona). (Id. at 5-6)
4           Finally, the entire FAC is premised on the erroneous theory that machine counting
5    of ballots is unreliable because the machines used are “potentially susceptible to malicious
6    manipulation that can cause incorrect counting of votes” and these alleged vulnerabilities
7    stem from the possibility that the machines “can be connected to the internet.” (FAC, ¶¶ 26,
8    33.) Maricopa County’s vote tabulation system is not, never has been, and cannot be
9    connected to the Internet. The Arizona Senate’s Special Master confirmed that Maricopa
10   County uses an air-gapped system that “provides the necessary isolation from the public
11   Internet, and in fact is in a self-contained environment” with “no wired or wireless
12   connections in or out of the Ballot Tabulation Center” so that “the election network and
13   election devices cannot connect to the public Internet.” (County’s MTD Ex. 12 at 8, 10–11)
14   The Special Master’s report discredits all of the Cyber Ninjas’ speculative findings—relied
15   on by the FAC—concerning alleged “unauthorized access, malware present or internet
16   access to these systems” that “basic cyber security best practices and guidelines were not
17   followed” or that in the past Maricopa County failed to ensure that “election management
18   servers were not connected to the internet.” (FAC, ¶¶ 70, 132, 164)
19   III.   LEGAL ARGUMENT
20          A.     Applicable Legal Standards
21          Rule 11 of the Federal Rules of Civil Procedure, and 28 U.S.C. § 1927, represent
22   independent sources of authority for the imposition of sanctions by a federal court.
23   Truesdell v. S. Cal. Permanente Med. Grp., 209 F.R.D. 169, 173 (C.D. Cal. 2002). Rule 11
24   is designed to deter attorneys and unrepresented parties from violating their certification
25   that any pleading, motion or other paper presented to the court is supported by an objectively
26   reasonable legal and factual basis. Id. Section 1927 is designed to deter attorney
27   misconduct. Id. at 174. In the instant action, sanctions are warranted under both bases.
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1           Rule 11 states, in pertinent part, that when an attorney presents a signed paper to a
2    court, that person is certifying that to the best of his or her “knowledge, information, and
3    belief, formed after an inquiry reasonable under the circumstances,—”
4            (1) it is not being presented for any improper purpose, such as to harass, cause
            unnecessary delay, or needlessly increase the cost of litigation;
5
             (2) the claims, defenses, and other legal contentions therein are warranted
6           by existing law or by a nonfrivolous argument for the extension,
            modification, or reversal of existing law or the establishment of new law;
7           [and]
8            (3) the allegations and other factual contentions have evidentiary support
            or, if specifically so identified, are likely to have evidentiary support after a
9           reasonable opportunity for further investigation or discovery ...
10   Fed. R. Civ. P. 11(b).
11          Rule 11 permits a court to impose a sanction for any violation of these certification
12   requirements, either upon the attorney or the party responsible for the violation. Fed. R.
13   Civ. P. 11(c)(1). It is governed by an objective standard of reasonableness. See, e.g., Conn
14   v. CSO Borjorquez, 967 F.2d 1418, 1421 (9th Cir. 1992). The court considering a request
15   for Rule 11 sanctions should consider whether a position taken was “frivolous,” “legally
16   unreasonable,” or “without factual foundation, even if not filed in subjective bad faith.”
17   Zaldivar v. City of Los Angeles, 780 F.2d 823, 831 (9th Cir. 1986); see also Townsend v.
18   Holman Consulting Corp., 929 F.2d 1358, 1362–65 (9th Cir. 1990) (en banc).
19          Further, a sanction should be “what suffices to deter repetition of such conduct or
20   comparable conduct ....” Fed. R. Civ. P. 11(c)(4). Indeed, “the central purpose of Rule 11
21   is to deter baseless filings in district court.” Cooter & Gell v. Hartmarx Corp., 496 U.S.
22   384, 393 (1990). Thus, “[e]ven if the careless litigant quickly dismisses the action, the
23   harm triggering Rule 11’s concerns has already occurred[,]” and “the imposition of such
24   sanctions on abusive litigants is useful to deter such misconduct.” Id. at 398.
25          A federal court may also base an order of sanctions on authority granted by 28
26   U.S.C. § 1927, which states, in pertinent part, that:
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            Any attorney ... who so multiplies the proceedings in any case unreasonably and
1
            vexatiously may be required by the court to satisfy personally the excess costs,
2           expenses, and attorneys’ fees reasonably incurred because of such conduct.
3    28 U.S.C. § 1927.

4           Thus, “Section 1927 authorizes the imposition of sanctions against any lawyer who

5    wrongfully proliferates litigation proceedings once a case has commenced.” Pacific

6    Harbor Capital, Inc. v. Carnival Air Lines, Inc., 210 F.3d 1112, 1117 (9th Cir. 2000).

7    Because Section 1927 requires that an attorney’s multiplication of proceedings be both

8    “unreasonabl[e]” and “vexatious[ ],” the conduct of the attorney in question must have

9    been somehow wrongful. Truesdell, 209 F.R.D. at 175. Unlike Rule 11, “[t]he imposition

10   of sanctions under § 1927 requires a finding of bad faith.” Pacific Harbor, 210 F. 3d at

11   1117. “We assess an attorney’s bad faith under a subjective standard. Knowing or reckless

12   conduct meets this standard.” MGIC Indem. Corp. v. Moore, 952 F.2d 1120, 1122 (9th Cir.

13   1991); see In re Keegan Mgmt. Co., Securities Litig., 78 F.3d 431, 435–36 (9th Cir. 1996).

14   Thus, “counsel must have a culpable state of mind but its conduct need not be intentional:

15   [a court] may only award sanctions where it finds that counsel acted with ‘intent,

16   recklessly, or in bad faith.’ ” Baneth v. Planned Parenthood, 1994 WL 224382, *3 (N.D.

17   Cal. May 12, 1994) (citations omitted). As is true for Rule 11, Section 1927 sanctions may

18   be an award of reasonable attorneys’ fees. See Salstrom v. Citicorp Credit Servs., Inc., 74

19   F.3d 183, 185 (9th Cir.1996).

20          B.     Plaintiffs and their counsel violated Rule 11.
21          “Rule 11 imposes a duty on attorneys to certify by their signature that (1) they have
22   read the pleadings or motions they file and (2) the pleading or motion is ‘well-grounded in
23   fact,’ has a colorable basis in law, and is not filed for an improper purpose.” Smith v. Ricks,
24   31 F.3d 1478, 1488 (9th Cir. 1994). “The issue in determining whether to impose sanctions
25   under Rule 11 is whether a reasonable attorney, having conducted an objectively
26   reasonable inquiry into the facts and law, would have concluded that the offending paper
27   was well-founded.” Schutts v. Bentley Nevada Corp., 966 F. Supp. 1549, 1562 (D. Nev.
28   1997) (citation omitted). Where such a violation is found, Rule 11 authorizes sanctions
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1    against persons—attorneys, law firms, or parties—responsible. See Pavelic & LeFlore v.
2    Marvel Entertainment Group, 493 U.S. 120, 120 (1989). Here Plaintiffs’ counsel has
3    repeatedly violated the certification requirements of Rule 11. Worse, both counsel and
4    Plaintiffs have pursued this matter for an improper purpose – namely to sow doubts about
5    the reliability and trustworthiness of elections for their own financial and political benefit.
6           As an initial matter, Plaintiffs repeatedly made false allegations that Arizona does
7    not use paper ballots, test its tabulation machines, and audit election results. They also
8    made numerous factual misstatements concerning Maricopa County, its tabulation
9    machines’ internet connections and the Cyber Ninjas’ audit findings. These false
10   allegations and statements are sufficient alone, under Rule 11(b)(3), to support imposition
11   of sanctions. Indeed, for the reasons set forth above and at length in Defendant’s MTD and
12   Response to MPI, these allegations are untrue and any reasonable inquiry using publicly-
13   available information would have shown the falsity of these assertions. Yet, Plaintiffs and
14   their attorneys made these false statements anyway.
15          Further, Plaintiffs violated Rule 11(b)(2) and (b)(3) because their constitutional
16   claims are entirely untenable. Specifically, these claims fail because they are based on the
17   complete fiction that “Arizona’s use of electronic election equipment permits unauthorized
18   persons to manipulate vote totals without detection, thereby infringing Plaintiffs’ right to
19   vote and have the vote counted accurately.” (Response to Defendant’s MTD at 12.)
20   Plaintiffs bombard the Court with unnecessarily-voluminous filings and irrelevant
21   averments, but, as set forth in detail above, fail to allege a single factual allegation that any
22   Arizona ballot tabulation equipment has ever been hacked or manipulated or has
23   improperly counted votes, or that any Arizona voters’ ballot, including Plaintiffs’, has ever
24   been improperly counted by an electronic tabulation machine – because no such evidence
25   exists. Plaintiffs’ claims are based on mere speculation and conjecture but, as the court
26   rightly stated in King v. Whitmer, in awarding sanctions for a factually deficient election-
27   related challenge, “[w]hile there are many arenas—including print, television, and social
28   media—where protestations, conjecture, and speculation may be advanced, such
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1    expressions are neither permitted nor welcomed in a court of law.” King v. Whitmer, 556
2    F. Supp. 3d 680, 689 (E.D. Mich. 2021).
3           Furthermore, Plaintiffs and their counsel merely asserting an alleged good faith
4    belief in the merits of their claim is insufficient to prevent sanctions. Indeed, an “empty-
5    head” but “pure-heart” does not justify pursuing Section 1983, Equal Protection Clause
6    and Due Process Clause claims where the factual contentions asserted to support those
7    claims lack any evidentiary support. See Fed. R. Civ. P. 11 Advisory Committee Notes
8    (1993 Amendment) (noting that Rule 11’s objective standard is “intended to eliminate any
9    ‘empty-head pure-heart’ justification for patently frivolous arguments”); Tahfs v Proctor,
10   316 F.3d 584, 594 (6th Cir. 2003)(“A good faith belief in the merits of a case is insufficient
11   to avoid sanctions.”).
12          Finally, Plaintiffs and their counsel violated Rule 11(b)(1) by pursuing this frivolous
13   lawsuit that has no factual or legal basis for the improper purpose of undermining
14   confidence in elections and to further their political campaigns. Both Plaintiffs Lake and
15   Finchem have voted on paper ballots for nearly 20 years; thus, their claims that Arizona
16   does not use paper ballots are the very definition of “frivolous.” (See Cnty. MTD, Ex. 15.)
17   And, during the entire time that Plaintiffs have voted in Arizona, their votes were tabulated
18   by machines. Yet, they did not challenge machine tabulation in the early 2000s, nor did they
19   challenge it when the County began using Dominion equipment in 2019. (See, e.g., FAC,
20   ¶¶ 18, 137). Instead, they waited until they were running for statewide political office, when
21   a significant portion of their likely voters had become erroneously convinced that the 2020
22   election was “stolen.” Only then did they raise concerns about tabulation equipment, after
23   having determined that promoting distrust in elections was politically profitable. Indeed,
24   both Plaintiffs are actively stating their intentions “not to concede” and require a 100% hand
25   recount of all ballots. Specifically, on June 28, 2020, Plaintiff Finchem publicly stated,
26   "[a]in’t gonna be no concession speech coming from this guy. I’m going to demand a 100%
27   hand count if there’s the slightest hint that there’s an impropriety. And I will urge the next
28   governor        [referring        to       Lake]         to       do         the       same.”
                                                   9
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1    https://www.azcentral.com/story/news/politics/arizona/2022/07/13/arizona-gov-doug-
2    ducey-endorses-beau-lane-secretary-state/10053166002/. Lake responded, stating she
3    would “absolutely” do the same, noting that former president Trump never conceded his
4    2020 loss and stating “that was really smart.” Id.
5           This Court should not countenance candidates filing a meritless lawsuit for political
6    purposes, which asserts fictional violations of constitutional rights and is completely
7    devoid of any factual basis, but furthers a false narrative that election results cannot be
8    trusted. As was the case in King v. Whitmer,
9
            This lawsuit represents a historic and profound abuse of the judicial process.
10          It is one thing to take on the charge of vindicating rights associated with an
            allegedly fraudulent election. It is another to take on the charge of deceiving
11          a federal court and the American people into believing that rights were
12          infringed, without regard to whether any laws or rights were in fact violated.
     King, 556 F. Supp.3d at 688 (E.D. Mich. 2021).
13
            C. Plaintiffs’ counsel violated Section 1927.
14
            “Section 1927 authorizes the imposition of sanctions against any lawyer who
15
     wrongfully proliferates litigation proceedings once a case has commenced.” Pacific
16
     Harbor Capital, Inc. v. Carnival Air Lines, Inc., 210 F.3d 1112, 1117 (9th Cir. 2000).
17
     Sanctions imposed pursuant to 28 U.S.C. § 1927 must be supported by a finding of bad
18
     faith. See Blixseth v. Yellowstone Mountain Club, LLC, 796 F.3d 1004, 1007 (9th Cir.
19
     2015). “[A] finding that the attorney recklessly or intentionally misled the court” or “a
20
     finding that the attorney[ ] recklessly raised a frivolous argument which resulted in the
21
     multiplication of the proceedings” amounts to the requisite level of bad faith. Franco v.
22
     Dow Chem. Co. (In re Girardi), 611 F.3d 1027, 1061 (9th Cir. 2010) (citations omitted).
23
     In addition, “recklessly or intentionally misrepresenting facts constitutes the requisite bad
24
     faith” to warrant sanctions, as does “recklessly making frivolous filings.” Id. at 1061–62
25
     (internal quotations and citations omitted).
26
            Here Plaintiffs’ counsels’ numerous false allegations and misrepresentations of
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     evidence, as well as their continued pursuit of baseless claims, especially after Defendants
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                                                    10
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1    repeatedly alerted them to these misrepresentations, are sufficient to justify sanctions
2    pursuant to Section 1927.
3           Plaintiffs’ improper conduct is further evidenced by their inexplicable years-long
4    delay in seeking injunctive relief. Plaintiffs challenge a statutory scheme that has authorized
5    counties to use vote tabulation machines to “automatically” count votes since at least 1966.
6    (See Cnty. MTD, Ex. 14.) Plaintiffs allege problems with vote tabulation machines have
7    occurred since 2002. (See, e.g., FAC, ¶¶ 71–82.) Plaintiffs seek to invalidate a voting system
8    certified by the Secretary on November 5, 2019. (See id., ¶¶ 18, 137.) And Plaintiffs’ voter
9    files indicate they each have voted in elections in which vote tabulation machines were used
10   for more than a decade. (See Cnty. MTD, Ex. 15.) Yet, despite the fact that Plaintiffs should
11   have brought their lawsuit years earlier (if they really believed that their constitutional rights
12   were being infringed by tabulation machines), they waited until a distrust of tabulation
13   machines had become commonplace among some of their political party’s base and they
14   judged that a lawsuit such as this one would garner them political favor. Plaintiffs’ counsel
15   should have questioned why their clients only now decided to file this lawsuit, and should
16   have recognized that something smelled funny. And even if they did not, Plaintiffs’ counsel
17   should have declined to continue prosecuting this matter after counsel for the County clearly
18   explained that Plaintiffs’ claims are barred by the applicable Section 1983 Statute of
19   Limitations, Laches and the Purcell principle. (See Ex. 1 and Cnty. MTD)
20          By filing the request for injunctive relief, after the County alerted them to the utter
21   lack of legal and factual support for Plaintiffs’ claims, Plaintiffs’ counsel violated Section
22   1927. Pursuing injunctive relief under these circumstances, with the resulting additional
23   unnecessary briefing and an evidentiary hearing, is reckless and vexatious. Plaintiffs’
24   counsel has acted in bad faith by completely disregarding the futility of their claims, taxing
25   judicial resources, wasting the time of election employees on the eve of the August 2022
26   Primary election and forcing the unnecessary expenditure of taxpayer resources.
27

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1                                        CONCLUSION
2          For the reasons addressed above, the County asks the Court to award its reasonable
3    attorneys’ fees incurred, pursuant to Rule 11 and Sections 1927, from the date that
4    Plaintiffs filed the First Amended Complaint up until the Court’s ruling on the present
5    motion, or in an amount the Court deems sufficient “to deter repetition of such conduct or
6    comparable conduct by others similarly situated.” Fed R. Civ. P. 11(c)(4).
7

8          RESPECTFULLY SUBMITTED this 10th day of August, 2022.
9
                                              THE BURGESS LAW GROUP
10

11                                            BY: /s/ Emily Craiger
                                                  Emily Craiger
12

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                                             Maricopa County Board of Supervisors
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